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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION


TEMPEST ABDULLAH,


     Plaintiff,

            V.                      *          CV 120-007

CONTRACT CALLERS,


     Defendant.




                               ORDER




    Before the Court is Defendant's unopposed motion to dismiss

for failure to state a claim.           (Doc. 13.)     For the following

reasons. Defendant's motion is GRANTED.



                            I. BACKGROUND


     Plaintiff, proceeding pro se, filed the present action

alleging harassment under the Fair Debt Collection Practices Act
C'FDCPA"), 15 U.S.C. §§ 1692-1692p, for repeated calls from

Defendant after requesting them to stop.       (Compl., Doc. 1, at 6.)

Plaintiff    alleged   violations   under    the     FDCPA,    Fair   Credit

Reporting Act (^^FCRA"), 15 U.S.C. §§ 1681-1681x, and Telephone
Consumer Protection Act ("TCPA"), 47 U.S.C. § 227.              Pursuant to

the Magistrate    Judge's Report and Recommendation, this Court

dismissed Plaintiff s claims under the FCRA and TCPA for failure

to state a claim on April 16, 2020.         (Doc. 11.)        Defendant then
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filed the present motion and memorandum of law in support on May

4, 2020, asking the Court to dismiss the remaining FDCPA claim for

failure to state a claim.      (Doc 13-1.)^    Plaintiff did not respond.



                           II. LEGAL STANDARD


     In considering a motion to dismiss under Rule 12(b)(6), the

Court tests the legal sufficiency of the complaint.               Scheuer v.

Rhodes, 416 U.S. 232, 236 (1974), overruled on other grounds by

Davis V. Scherer, 468 U.S. 183 (1984).           Pursuant to Federal Rule

of Civil Procedure 8(a)(2), a complaint must contain ''a short and

plain statement of the claim showing that the pleader is entitled
to relief" to give the defendant fair notice of both the claim and

the supporting grounds. Bell Atl. Corp. v. Twombly, 550 U.S. 544,
555 (2007).      Although ''detailed factual allegations" are not

required, Rule 8 "demands more than an unadorned, the-defendant-
unlawfully-harmed-me accusation."           Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 555).

     "To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to 'state a claim to

relief that is plausible on its face.'" 2                 (quoting Twombly,

550 U.S. at 570).      The plaintiff must plead "factual content that


^ The Court has also issued an Order staying discovery in this action pending
final resolution of the present motion.   (Doc. 22.)
2 The Court must accept all well-pleaded facts in the complaint as true and
construe all reasonable inferences therefrom in the light most favorable to the
plaintiff. Garfield v. NDC Health Corp., 466 F.3d 1255, 1261 (11th Cir. 2006).
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allows    the   court    to    draw   the       reasonable      inference    that    the

defendant    is   liable      for   the       misconduct   alleged."        Id.     "The

plausibility standard is not akin to a ^probability requirement,'

but it asks for more than a sheer possibility that defendant has

acted    unlawfully."         Id.         A    plaintiff's      pleading    obligation

"requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do."

Twombly, 550 U.S. at 555.             "Nor does a complaint suffice if it

tenders      ^naked      assertions'            devoid     of     ^further        factual

enhancement.'"        Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.

at 557).    Furthermore, "the court may dismiss a complaint pursuant

to [Rule 12(b)(6)] when, on the basis of a dispositive issue of

law, no construction of the factual allegations will support the

cause of action."        Marshall Cnty. Bd. of Educ. v. Marshall Cnty.

Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993) (citing Executive

100, Inc. V. Martin Cnty., 922 F.2d 1536, 1539 (11th Cir. 1991)).

        The Court affords a liberal construction to a document filed

pro se, and a pro se complaint must be held to less stringent
standards than formal pleadings drafted by lawyers.                        Erickson v.

Pardus, 551 U.S. 89, 94 (2007) (citing Estelle v. Gamble, 429 U.S.

97, 106 (1976)).

        Taking the Plaintiff's allegations as true, the Complaint

states the following.           Between April and June of 2019, Plaintiff

received several phone calls from Defendant regarding a debt
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supposedly owed to T-Mobile in the total of $148.38.         (Doc. 1, at

6, 13, 22.)   Plaintiff repeatedly asked Defendant to stop calling

her and to verify the debt.       (Id. at 6.)      Defendant failed to

verify the relationship and contract and failed to send a written

debt validation notice as required by FDCPA § 1692g(a).             (Id.)

Plaintiff claims the repeated calls amount to harassment pursuant

to FDCPA § 1692d.     (Id.)     Plaintiff seeks to have the ''item"

removed - presumably from collections or her credit report - as

well as compensation for lost time and suffering resulting from

the harassment.   (Id. at 7.)




                           III. DISCUSSION


     The statute relevant to Plaintiff's harassment allegation

provides that:

     To state a claim under the FDCPA, a plaintiff must
     establish each of the following elements: (1) that he
     was the object of "collection activity" arising from
     "consumer debt"; (2) that the defendant qualifies as a
     "debt collector" under the FDCPA; and (3) that the
     defendant engaged in an act or omission prohibited by
     the FDCPA.


In re Ward, 583 B.R. 558, 570 (S.D. Ga. 2018) (internal citations
omitted).

     Construing the facts as true and the filing liberally, as

required for pjoo sq filings, Plaintiff satisfies element (1) by
stating she received numerous phone calls with regard to a debt
owed to T~Mobile.    The Court finds these calls can be classified
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as a collection activity and the $148.38 constitutes a debt because

it involves payment due under a contract.          See Agrelo v. Affinity

Mqmt. Servs., LLC, 841 F.Sd 944, 950 (11th Cir. 2016) (''As long as

the transaction creates an obligation to pay^ a debt is created."

(quoting Brown v. Budget Rent-A-Car Sys., Inc., 119 F.Sd 922, 924

(11th Cir. 1997)).

       As to element (2), the term "debt collector" is defined as

"any person . . . in any business the principal purpose of which
is the collection of any debts, or who regularly collects or

attempts to collect, directly or indirectly, debts owed or due or
asserted to be owed or due another."              15 U.S.C. § 1692a(6).

Therefore, to state a plausible claim. Plaintiff's complaint must

allege that the defendant is a "debt collector" within the meaning
of the statute.       See Kurtzman v. Nationstar Mortg. LLC, 709 F.

App'x 655, 658-659 (11th Cir. 2017) (requiring Plaintiff to
plausibly allege sufficient factual content to enable court to
draw    reasonable    inference    that   Defendant    is   debt    collector

pursuant to FDCPA).         Plaintiff provided no facts to establish
Contract Callers as a debt collector other than alleging they

placed phone calls regarding a debt in some capacity.                No facts
were asserted for the Court to create an inference that Contract

Callers falls within the meaning of "debt collector" under the

FDCPA.      Even   when   construed   liberally, there      are    not enough

allegations to suggest Contract Callers is in the aforementioned
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business or regularly collects or attempts to collect debts.            See

id. at 659 (finding complaint that is silent regarding whether

principal purpose of defendant's business is collecting debts omit

factual content to infer qualification as debt collector).              The

Court therefore finds that Plaintiff has not stated a claim under

FDCPA § 1692d because element (2) is not satisfied.

     Out of an abundance of caution, the Court will also analyze

element (3) of the FDCPA.      For element (3), Plaintiff needed to

provide facts alleging Defendant engaged in an act or activity

prohibited by the FDCPA.     Plaintiff generally alleges harassment

under § 1692d.    The statute states the following conduct is a

violation of this section:

     (1) [t]he use or threat of use of violence or other
     criminal means to harm the physical person, reputation,
     or property of any person; (2) [t]he use of obscene or
     profane language or language the natural consequence of
     which is to abuse the hearer or reader; (3) [t]he
     publication of a list of consumers who allegedly refuse
     to pay debts . . . ; (4) [t]he advertisement for sale of
     any debt to coerce payment of the debt; (5) [clausing a
     telephone to ring or engaging any person in telephone
     conversation repeatedly or continuously with intent to
     annoy, abuse, or harass any person at the called number;
     (6) [ejxcept as provided in section 1692b of this title,
     the placement of telephone calls without meaningful
     disclosure of the caller's identity.

15 U.S.C. § 1692d(1)-(6). The Court finds Subsections (1) through

(4) inapplicable here.     Based on the facts, the claim falls under
either Subsection (5) or (6).      Plaintiff alleges Defendant placed

repeated calls and ignored her requests to stop but provides no
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additional    facts   that   would   satisfy     Subsection    (5)'s   intent

requirement.      If Plaintiff instead wanted to classify the claim

under Subsection (6), she would still be unsuccessful because no

facts    allege   Contract   Callers    failed    to    provide    meaningful

disclosure of the caller's identity.           To the contrary. Plaintiff

presumably knew who the caller was based on the identification of

Contract Callers in this case, therefore failing to meet the

violation    requirements    under     Subsection      (6)   and   failing   to

sufficiently allege a plausible claim under § 1692d.3

        Although not explicitly identified by Plaintiff, the Court

construes her statement regarding Defendant's failure to verify

the debt by written validation within five days of the collector's
initial communication as claiming Defendant also violated § 1692g

of the FDCPA.     This section requires written notice to be sent to

the consumer within five days following an initial communication
by a debt collector. S^ 15 U.S.C. § 1692g. The written notice
must contain specific information as outlined in § 1692g.                    The
initial communication that triggers the written notice requirement

can be satisfied by a phone call.         S^ Ponce v. BCA Fin. Servs.,

Inc., 467 F. App'x 806, 808 (11th Cir. 2012) (finding phone call
as initial communication under 15 U.S.C. § 1692g(a)). By Defendant




3 Defendant raised a statute of limitations issue claiming Plaintiff does
not allege when the conduct occurred. (Doc. 13-1.) The Court finds it
unnecessary to address this issue as the claims fail for other reasons.
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contacting     Plaintiff         via   telephone,     this     requirement      was

triggered.     Therefore, a written validation of the debt should

have been sent within five days of the first call and according to

Plaintiff's Complaint, it was not.              Defendant failed to satisfy

the notice requirement under 15 U.S.C. § 1692g.                     Despite this

failure,     since    the   Court      does   not   find     Plaintiff   provided

sufficient factual allegations to classify Defendant as a debt

collector. Defendant cannot be held liable for its failure to send

written notification under § 1692g.                 Therefore, the allegation

under § 1692g also fails to establish a plausible claim of relief.

     Even construed liberally, and with the allegations accepted

as true. Plaintiff has not provided sufficient factual allegations

to state a claim under Sections 1692d or 1692g of the FDCPA.




                                  IV, CONCLUSION


     For     the     foregoing     reasons,    IT   IS     HEREBY   ORDERED   that

Defendant's motion to dismiss (Doc. 13) is GRANTED and this matter

is DISMISSED.         The Clerk is DIRECTED to TERMINATE all pending

motions and deadlines, if any, and CLOSE this case.

     ORDER     ENTERED      at    Augusta,    Georgia,      this          day    of

               ' 2020.                               ^
                                  CX..^NITj>D
                                       J. STATES DISTRICT COURT
                                        SOUTHERN    DISTRICT OF GEORGIA
